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8                            UNITED STATES DISTRICT COURT
9                          SOUTHERN DISTRICT OF CALIFORNIA
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11   ANDREW MURTOMAKI,                                  Case No.: 20cv2178-BEN-LL
12                                     Plaintiff,
                                                        ORDER GRANTING JOINT MOTION
13   v.                                                 FOR PROTECTIVE ORDER WITH
                                                        MODIFICATIONS
14   TARGET CORPORATION, et al.,
15                                 Defendants.          [ECF No. 10]
16
17
           On January 8, 2021, the Parties filed a “Joint Motion for Protective Order.” ECF
18
     No. 10. The Court has considered the stipulated protective order (attached as Exhibit A)
19
     and, for good cause shown, the joint motion is GRANTED with the following
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     modifications:
21
           1.    Paragraph    8    should    read       as   follows:   “Information   designated
22
     ‘CONFIDENTIAL-FOR COUNSEL ONLY’ must be viewed only by counsel (as defined
23
     in paragraph 3) of the receiving party, court personnel, and by independent experts under
24
     the conditions set forth in this Paragraph. The right of any independent expert to receive
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     any confidential information will be subject to the advance approval of such expert by the
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     producing party or by permission of the Court. The party seeking approval of an
27
     independent expert must provide the producing party with the name and curriculum vitae
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1    of the proposed independent expert, in advance of providing any confidential information
2    of the producing party to the expert. Any objection by the producing party to an
3    independent expert receiving confidential information must be made in writing within
4    fourteen (14) days following receipt of the identification of the proposed expert.
5    Confidential information may be disclosed to an independent expert if the fourteen (14)
6    day period has passed and no objection has been made. The approval of independent
7    experts must not be unreasonably withheld.”
8          2.     Paragraph 12 should read as follows: “Before any materials produced in
9    discovery, answers to interrogatories, responses to requests for admissions, deposition
10   transcripts, or other documents which are designated as confidential information are filed
11   with the Court for any purpose, the party seeking to file such material must seek
12   permission of the Court to file the material under seal. No document shall be filed under
13   seal, and the Court shall not be required to take any action, without separate prior order
14   by the judge before whom the hearing or proceedings will take place, after application by
15   the affected party with appropriate notice to opposing counsel. The parties shall follow
16   and abide by applicable law, including Civil Local Rule 79.2, Section 2.j of the
17   Electronic Case Filing Administrative Policies and Procedures, and the Chambers Rules
18   of the applicable judge, with respect to filing documents under seal. A sealing order may
19   issue only upon a request that establishes that the document, or portions thereof, is
20   privileged or otherwise subject to protection under the law. The request must be narrowly
21   tailored to seek sealing only of sensitive personal or confidential information. An
22   unredacted version of the document, identifying the portions subject to the motion to seal,
23   must be lodged with the motion to seal. A redacted version of the document must be
24   publicly filed simultaneously with the motion or ex parte application to file under seal.”
25         3.     Paragraph 13 should read as follows: “At any stage of these proceedings,
26   any party may object to a designation of the materials as confidential information. The
27   party objecting to confidentiality must notify, in writing, counsel for the designating party
28   of the objected-to materials and the grounds for the objection. If the dispute is not

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1    resolved consensually between the parties within seven (7) days of receipt of such a
2    notice of objections, the objecting party may move the Court for a ruling on the
3    objection. The motion must be in conformance with any requirements set forth in the
4    Local Rules and the Chambers Rules of the applicable Judge. The material at issue must
5    be treated as confidential information, as designated by the designating party, until the
6    Court has ruled on the objection or the matter has been otherwise resolved.”
7          IT IS SO ORDERED.
8
9    Dated: January 11, 2021
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                EXHIBIT A
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 8                                                  UNITED STATES DISTRICT COURT
 9                                            SOUTHERN DISTRICT OF CALIFORNIA
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11      ANDREW MURTOMAKI,                                                 Case No.: 3:20-cv-02178-BEN-LL
12                    Plaintiff,
13                                  v.                                    PROTECTIVE ORDER
14      TARGET CORPORATION,
15                    Defendant.
16

17                  The Court recognizes that at least some of the documents and information
18    (“materials”) being sought through discovery in the above-captioned action are, for
19    competitive reasons, normally kept confidential by the parties. The parties have
20    agreed to be bound by the terms of this Protective Order (“Order”) in this action.
21                  The materials to be exchanged throughout the course of the litigation between
22    the parties may contain trade secret or other confidential research, technical, cost,
23    price, marketing or other commercial information, as is contemplated by Federal Rule
24    of Civil Procedure 26(c)(1)(G). The purpose of this Order is to protect the
25    confidentiality of such materials as much as practical during the litigation.
26    THEREFORE:
27                                                           DEFINITIONS
28                  1.            The term “confidential information” will mean and include information

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 1    contained or disclosed in any materials, including documents, portions of documents,
 2    answers to interrogatories, responses to requests for admissions, trial testimony,
 3    deposition testimony, and transcripts of trial testimony and depositions, including
 4    data, summaries, and compilations derived therefrom that is deemed to be confidential
 5    information by any party to which it belongs.
 6                  2.            The term “materials” will include, but is not be limited to: documents;
 7    correspondence; memoranda; bulletins; blueprints; specifications; customer lists or
 8    other material that identify customers or potential customers; price lists or schedules
 9    or other matter identifying pricing; minutes; telegrams; letters; statements; cancelled
10    checks; contracts; invoices; drafts; books of account; worksheets; notes of
11    conversations; desk diaries; appointment books; expense accounts; recordings;
12    photographs; motion pictures; compilations from which information can be obtained
13    and translated into reasonably usable form through detection devices; sketches;
14    drawings; notes (including laboratory notebooks and records); reports; instructions;
15    disclosures; other writings; models and prototypes and other physical objects.
16                  3.            The term “counsel” will mean outside counsel of record, and other
17    attorneys, paralegals, secretaries, and other support staff employed in the law firms
18    identified below:
19
                           x SCHULZ BRICK & ROGASKI
20
                           x ANDY VAN LE & ASSOCIATES, P.C.
21

22                                                           GENERAL RULES
23                  4.            Each party to this litigation that produces or discloses any materials,
24    answers to interrogatories, responses to requests for admission, trial testimony,
25    deposition testimony, and transcripts of trial testimony and depositions, or
26    information that the producing party believes should be subject to this Protective
27    Order may designate the same as “CONFIDENTIAL” or “CONFIDENTIAL - FOR
28    COUNSEL ONLY.”

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 1                  a.            Designation as “CONFIDENTIAL”: Any party may designate
 2    information as “CONFIDENTIAL” only if, in the good faith belief of such party and
 3    its counsel, the unrestricted disclosure of such information could be potentially
 4    prejudicial to the business or operations of such party.
 5                  b.            Designation as “CONFIDENTIAL - FOR COUNSEL ONLY”: Any
 6    party may designate information as “CONFIDENTIAL - FOR COUNSEL ONLY”
 7    only if, in the good faith belief of such party and its counsel, the information is among
 8    that considered to be most sensitive by the party, including but not limited to trade
 9    secret or other confidential research, development, financial or other commercial
10    information.
11                  5.            In the event the producing party elects to produce materials for
12    inspection, no marking need be made by the producing party in advance of the initial
13    inspection. For purposes of the initial inspection, all materials produced will be
14    considered as “CONFIDENTIAL - FOR COUNSEL ONLY,” and must be treated as
15    such pursuant to the terms of this Order. Thereafter, upon selection of specified
16    materials for copying by the inspecting party, the producing party must, within a
17    reasonable time prior to producing those materials to the inspecting party, mark the
18    copies of those materials that contain confidential information with the appropriate
19    confidentiality marking.
20                  6.            Whenever a deposition taken on behalf of any party involves a disclosure
21    of confidential information of any party:
22                                a.            the deposition or portions of the deposition must be designated as
23                                              containing confidential information subject to the provisions of
24                                              this Order; such designation must be made on the record whenever
25                                              possible, but a party may designate portions of depositions as
26                                              containing confidential information after transcription of the
27                                              proceedings; [A] party will have until fourteen (14) days after
28                                              receipt of the deposition transcript to inform the other party or

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 1                                              parties to the action of the portions of the transcript to be
 2                                              designated “CONFIDENTIAL” or “CONFIDENTIAL - FOR
 3                                              COUNSEL ONLY.”
 4                                b.            the disclosing party will have the right to exclude from attendance
 5                                              at the deposition, during such time as the confidential information
 6                                              is to be disclosed, any person other than the deponent, counsel
 7                                              (including their staff and associates), the court reporter, and the
 8                                              person(s) agreed upon pursuant to paragraph 8 below; and
 9                                c.            the originals of the deposition transcripts and all copies of the
10                                              deposition must bear the legend “CONFIDENTIAL” or
11                                              “CONFIDENTIAL - FOR COUNSEL ONLY,” as appropriate,
12                                              and the original or any copy ultimately presented to a court for
13                                              filing must not be filed unless it can be accomplished under seal,
14                                              identified as being subject to this Order, and protected from being
15                                              opened except by order of this Court.
16                  7.            All confidential information designated as “CONFIDENTIAL” or
17    “CONFIDENTIAL FOR COUNSEL ONLY” must not be disclosed by the receiving
18    party to anyone other than those persons designated within this order and must be
19    handled in the manner set forth below and, in any event, must not be used for any
20    purpose other than in connection with this litigation, unless and until such designation
21    is removed either by agreement of the parties, or by order of the Court.
22                  8.            Information designated “CONFIDENTIAL - FOR COUNSEL ONLY”
23    must be viewed only by counsel (as defined in paragraph 3) of the receiving party,
24    and by independent experts under the conditions set forth in this Paragraph. The right
25    of any independent expert to receive any confidential information will be subject to
26    the advance approval of such expert by the producing party or by permission of the
27    Court. The party seeking approval of an independent expert must provide the
28    producing party with the name and curriculum vitae of the proposed independent

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 1    expert, in advance of providing any confidential information of the producing party
 2    to the expert. Any objection by the producing party to an independent expert receiving
 3    confidential information must be made in writing within fourteen (14) days following
 4    receipt of the identification of the proposed expert. Confidential information may be
 5    disclosed to an independent expert if the fourteen (14) day period has passed and no
 6    objection has been made. The approval of independent experts must not be
 7    unreasonably withheld.
 8                  9.            Information designated “confidential” must be viewed only by counsel
 9    (as defined in paragraph 3) of the receiving party, by independent experts (pursuant
10    to the terms of paragraph 8), by court personnel, and by the additional individuals
11    listed below, provided each such individual has read this Order in advance of
12    disclosure and has agreed in writing to be bound by its terms:
13                                a)            Executives who are required to participate in policy decisions with
14                                              reference to this action;
15                                b)            Technical personnel of the parties with whom Counsel for the
16                                              parties find it necessary to consult, in the discretion of such
17                                              counsel, in preparation for trial of this action; and
18                                c)            Stenographic and clerical employees associated with the
19                                              individuals identified above.
20                  10.           With             respect   to    material    designated   “CONFIDENTIAL”        or
21    “CONFIDENTIAL – FOR COUNSEL ONLY,” any person indicated on the face of
22    the document to be its originator, author or a recipient of a copy of the document, may
23    be shown the same.
24                  11.           All information which has been designated as “CONFIDENTIAL” or
25    “CONFIDENTIAL -FOR COUNSEL ONLY” by the producing or disclosing party,
26    and any and all reproductions of that information, must be retained in the custody of
27    the counsel for the receiving party identified in paragraph 3, except that independent
28    experts authorized to view such information under the terms of this Order may retain

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  1    custody of copies such as are necessary for their participation in this litigation.
  2                  12.           Before any materials produced in discovery, answers to interrogatories,
  3    responses to requests for admissions, deposition transcripts, or other documents which
  4    are designated as confidential information are filed with the Court for any purpose,
  5    the party seeking to file such material must seek permission of the Court to file the
  6    material under seal.
  7                  13.           At any stage of these proceedings, any party may object to a designation
  8    of the materials as confidential information. The party objecting to confidentiality
  9    must notify, in writing, counsel for the designating party of the objected-to materials
 10    and the grounds for the objection. If the dispute is not resolved consensually between
 11    the parties within seven (7) days of receipt of such a notice of objections, the objecting
 12    party may move the Court for a ruling on the objection. The materials at issue must
 13    be treated as confidential information, as designated by the designating party, until
 14    the Court has ruled on the objection or the matter has been otherwise resolved.
 15                  14.           All confidential information must be held in confidence by those
 16    inspecting or receiving it, and must be used only for purposes of this action. Counsel
 17    for each party, and each person receiving confidential information must take
 18    reasonable precautions to prevent the unauthorized or inadvertent disclosure of such
 19    information. If confidential information is disclosed to any person other than a person
 20    authorized by this Order, the party responsible for the unauthorized disclosure must
 21    immediately bring all pertinent facts relating to the unauthorized disclosure to the
 22    attention of the other parties and, without prejudice to any rights and remedies of the
 23    other parties, make every effort to prevent further disclosure by the party and by the
 24    person(s) receiving the unauthorized disclosure.
 25                  15.           No party will be responsible to another party for disclosure of
 26    confidential information under this Order if the information in question is not labeled
 27    or otherwise identified as such in accordance with this Order.
 28                  16.            If a party, through inadvertence, produces any confidential information

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  1    without labeling or marking or otherwise designating it as such in accordance with
  2    this Order, the designating party may give written notice to the receiving party that
  3    the document or thing produced is deemed confidential information, and that the
  4    document or thing produced should be treated as such in accordance with that
  5    designation under this Order. The receiving party must treat the materials as
  6    confidential, once the designating party so notifies the receiving party. If the receiving
  7    party has disclosed the materials before receiving the designation, the receiving party
  8    must notify the designating party in writing of each such disclosure. Counsel for the
  9    parties will agree on a mutually acceptable manner of labeling or marking the
 10    inadvertently produced materials as “CONFIDENTIAL” or “CONFIDENTIAL -
 11    FOR COUNSEL ONLY” - SUBJECT TO PROTECTIVE ORDER.
 12                  17.           Nothing within this order will prejudice the right of any party to object
 13    to the production of any discovery material on the grounds that the material is
 14    protected as privileged or as attorney work product.
 15                  18.           Nothing in this Order will bar counsel from rendering advice to their
 16    clients with respect to this litigation and, in the course thereof, relying upon any
 17    information designated as confidential information, provided that the contents of the
 18    information must not be disclosed.
 19                  19.           This Order will be without prejudice to the right of any party to oppose
 20    production of any information for lack of relevance or any other ground other than
 21    the mere presence of confidential information. The existence of this Order must not
 22    be used by either party as a basis for discovery that is otherwise improper under the
 23    Federal Rules of Civil Procedure.
 24                  20.           Nothing within this order will be construed to prevent disclosure of
 25    confidential information if such disclosure is required by law or by order of the Court.
 26                  21.           Upon final termination of this action, including any and all appeals,
 27    counsel for each party must, upon request of the producing party, return all
 28    confidential information to the party that produced the information, including any

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  1    copies, excerpts, and summaries of that information, or must destroy same at the
  2    option of the receiving party, and must purge all such information from all machine-
  3    readable media on which it resides. Notwithstanding the foregoing, counsel for each
  4    party may retain all pleadings, briefs, memoranda, motions, and other documents filed
  5    with the Court that refer to or incorporate confidential information, and will continue
  6    to be bound by this Order with respect to all such retained information. Further,
  7    attorney work product materials that contain confidential information need not be
  8    destroyed, but, if they are not destroyed, the person in possession of the attorney work
  9    product will continue to be bound by this Order with respect to all such retained
 10    information.
 11                  22.           The restrictions and obligations set forth within this order will not apply
 12    to any information that: (a) the parties agree should not be designated confidential
 13    information; (b) the parties agree, or the Court rules, is already public knowledge; (c)
 14    the parties agree, or the Court rules, has become public knowledge other than as a
 15    result of disclosure by the receiving party, its employees, or its agents in violation of
 16    this Order; or (d) has come or will come into the receiving party's legitimate
 17    knowledge independently of the production by the designating party. Prior knowledge
 18    must be established by pre-production documentation.
 19                  23.           The restrictions and obligations within this order will not be deemed to
 20    prohibit discussions of any confidential information with anyone if that person
 21    already has or obtains legitimate possession of that information.
 22                  24.           Transmission by email or some other currently utilized method of
 23    transmission is acceptable for all notification purposes within this Order.
 24                  25.           This Order may be modified by agreement of the parties, subject to
 25    approval by the Court.
 26                  26.            The Court may modify the terms and conditions of this Order for good
 27    cause, or in the interest of justice, or on its own order at any time in these proceedings.
 28    The parties prefer that the Court provide them with notice of the Court's intent to

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  1    modify the Order and the content of those modifications, prior to entry of such an
  2    order.
  3                  IT IS SO ORDERED this _______ day of __________, _____
  4

  5                                                           _______________________________________________
  6                                                                     Judge, United States District Court
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